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Michael R. Johnson, Esq. (A7070)
David H. Leigh, Esq. (A9433)
RAY QUINNEY & NEBEKER P.C.
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Email: mjohnson@rqn.com
Email: dleigh@rqn.com

Attorneys for Steven R. Bailey, Chapter 7 Trustee

                      IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF UTAH


In re:                                                  Bankruptcy Case No. 21-23636

EMPIRE SOLAR GROUP, LLC,                                           Chapter 7

                Debtor.                                    Honorable Joel T. Marker



              ELEVENTH INTERIM MONTHLY FEE REQUEST OF
         RAY QUINNEY & NEBEKER P.C., COUNSEL FOR THE TRUSTEE
             (SEPTEMBER 1, 2022 THROUGH SEPTEMBER 30, 2022)
______________________________________________________________________________
         Ray Quinney & Nebeker P.C. (“RQN”), counsel to Steven R. Bailey, the duly-appointed

Chapter 7 Trustee (the “Trustee”) for the above-captioned estate (the “Estate”) of Empire Solar

Group, LLC (the “Debtor”), and pursuant to the Court’s Order Establishing Monthly Fee and

Expense Reimbursement Procedures, entered on November 4, 2021 [Docket No. 128] (the “Fee

Order”), hereby respectfully submits this Eleventh Interim Monthly Fee Request (the “Fee

Request”) for the period of September 1, 2022, through and including September 30, 2022 (the

“Fee Period”).
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        During the Fee Period, RQN has rendered 23.00 hours of service to the Trustee for a total

amount of $6,458.50 in fees incurred. RQN is voluntarily discounting its fees in the total sum of

$758.50 thereby reducing its fees to $5,700 for the Fee Period. RQN is also seeking

reimbursement of expenses incurred in the amount of $65.38. The total of these two numbers is

$5,765.38. Pursuant to the Fee Order, RQN is seeking payment of (i) compensation in an

amount equal to eighty percent (80%) of the total fees sought, or $4,560.00, and (ii) one hundred

percent (100%) of the expenses incurred, or $65.38 for a combined amount equal to $4,625.38.

Such services are fully detailed in the invoices attached hereto as Exhibit A.   The invoices

contain a chronological listing of the tasks performed in each matter in which RQN provided

services during the billing period covered by the invoice.

        I. INTRODUCTION.

        A.     Case Background.

               1. The Debtor commenced the above-captioned chapter 7 bankruptcy proceeding

(the “Bankruptcy Case”) on August 22, 2021 (the “Petition Date”) by filing a voluntary

petition for relief under chapter 7 of title 11 of the United States Code (the “Bankruptcy

Code”).

               2. Steven R. Bailey is the duly qualified and acting Chapter 7 trustee in the

Bankruptcy Case.

               3. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334.

               4. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).




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       B.         RQN’s Employment and Basis for Compensation.

                  1. On August 30, 2021, the Trustee filed his application (the “Employment

Application”) seeking approval of his employment of RQN as general bankruptcy and litigation

counsel for the Trustee in the Bankruptcy Case. [Doc. # 11]

                  2. On September 8, 2021, this Court entered its Order Granting Ex Parte

Application of Steven R. Bailey, Chapter 7 Trustee, Authorizing the Trustee to Retain and

Employ Ray Quinney & Nebeker P.C. as his General Bankruptcy and Litigation Counsel

effective as of August 23, 2021. [Doc. # 19]

                  3. By virtue of the foregoing employment Order, RQN is currently the court-

approved general bankruptcy and litigation counsel for the Trustee.

                  4. As stated in RQN’s Employment Application [Doc. 11], RQN’s billing rates

are subject to adjustment and increase as necessary or appropriate, which adjustments and

increases typically become effective on February 1 of each calendar year. Unless expressly

disallowed by the Court, RQN intends to regularly increase its hourly billing rates in this matter

effective as of February 1 of each calendar year, if necessary and appropriate, by no more than

$10.00 per hour per attorney or paralegal per each calendar year. Accordingly, effective February

1, 2022, RQN adjusted its rates in this case, by no more than $10.00 per hour per attorney or

paralegal, and with a maximum rate for calendar year 2022 of $440.00 per hour for Mr. Johnson

and $395.00 per hour for Mr. Leigh. These rates are lower than the current standard hourly rates

for Messrs. Johnson and Leigh, which are $465.00 and $405.00 respectively. The range of

hourly billing rates applicable to the Fee Period (i.e., August 1, 2022 through August 31, 2022)

are as follows:



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                    Shareholders:       $330.00 to $440.00
                    Of Counsels:        $350.00 to $405.00
                    Associates:         $230.00 to $270.00
                    Paralegals:         $190.00

               5. All services performed and expenses incurred for which compensation or

reimbursement is sought in this Fee Request were performed or incurred for and on behalf of the

Trustee and not for any other person or entity.

               6. RQN has not shared or agreed to share compensation or reimbursement

awarded in the case with any other person except as among the shareholders and employees of

the firm of RQN.

               7. RQN has not made any agreements with the Trustee, the Debtor, or any other

persons or entities for compensation or reimbursement relating to the Bankruptcy Case which

have not been disclosed to the Court.

       II.     PRIOR FEE REQUESTS.

       This is the Eleventh Fee Request filed by RQN in the case as set forth below.

       THE PRESENT FEE REQUEST.

       A.      Billing Methodology.

               1. In the Fee Request, RQN is requesting compensation for services provided

and reimbursement of expenses incurred during the Fee Period.

               2. RQN’s services for the Trustee in the case are billed on an hourly-rate basis,

consistent with customary charges by comparably skilled practitioners in bankruptcy and non-

bankruptcy cases.

               3. The rates being charged by RQN to the Estate are at or below the RQN’s

standard hourly rates for each attorney or paralegal who has worked on the Bankruptcy Case.


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                    4. In rendering services and incurring expenses on behalf of the Trustee, RQN

makes reasonable efforts to use the most economical means and methods that are available and

appropriate under the circumstances.

                    5. Given the education, experience, and expertise of the RQN attorneys

rendering services in this case, the rates charged are reasonable and are similar to rates RQN

charges to clients for similar services.

           B.       Summary of Services Performed and Expenses incurred on Behalf of the Trustee.

                    1. During the Fee Period, RQN rendered 23.00 hours of service to the Trustee

related to the case. Descriptions of the services rendered by RQN are fully detailed in the invoice

attached hereto as Exhibit A.

                    2. The invoice contains a chronological listing of the tasks performed in which

RQN provided services during the billing period covered by the invoice.

                    3. Below is a summary of the hours billed by each professional and costs

advanced during the Fee Period and the hours and fees billed to each task category.

                           Name of
                Professional/Paraprofessional:            Hours           Rate:           Total:
                                                          Billed:
           Michael R. Johnson, Shareholder                    5.20        $440.00                  $2,288.00
           David H. Leigh, Shareholder                        3.30        $395.00                  $1,303.50
           Austin Nate, Associate                             2.80        $230.00                    $644.00
           Carrie Hurst, Paralegal                           11.70        $190.00                  $2,223.00
                TOTAL                                        23.00                                 $6,458.50

                  DISCOUNT                                                                         ($758.50 1)
                  DISCOUNTED TOTAL                                                                  $5,700.00




1
    Discount taken on the billings of Carrie Hurst on Matter 7, Employment and Fee Applications.


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                           Task Category                        Hours            $ Amount

        General Case Administration                                7.50          $2,392.50

        Avoidance Action Analysis                                  4.90          $1,977.00

        Fee Applications                                          10.60          $2,089.00

        Subtotal                                                  23.00          $6,458.50
        Less discount                                                             ($758.50)
        Discounted Total                                                         $5,700.00
        Costs                                                                       $65.38

      Total Combined Fees and Costs                                              $5,765.38



               4. As set forth above, RQN is voluntarily discounting its fee request by $758.50

and is requesting in this application 80% of $5,700.00, or $4,560.00, in monthly interim fees for

September, 2022.

               5. During the Fee Period, RQN incurred actual and necessary expenses in the

total amount of $65.38 in connection with the services rendered to the Trustee. RQN maintains

appropriate details, including receipts, invoices, reimbursement vouchers, and other supporting

information concerning the expenses incurred in this representation, and that information is

available for review upon request. The expenses incurred by RQN for which reimbursement in

the Fee Request is sought are consistent with the U.S. Trustee Guidelines.

        A summary showing the breakdown of total expenses by type of expense is as follows:

                                                    Service Provider
           Expense Category                                                      Total Expenses
                                                    (if applicable)
Postage Expense                               Ray Quinney & Nebeker P.C.               $19.38
Service of Subpoena                                Constable Reitz                     $46.00
TOTAL                                                                                 $65.38



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       This is RQN’s eleventh interim monthly fee request under the Fee Order. Pursuant to the

Fee Order, RQN is a “Professional” authorized to request payment from the estate for services

rendered and expenses incurred during the Fee Period equal to eighty percent (80%) of the total

fees sought and one hundred percent (100%) of the expenses incurred. Payment of the requested

fees and costs is interim in nature and is subject to approval by the Court.

       In summary, RQN’s fees and expenses requested for this Fee Period and previous fee

periods are as follows:

                                                                             Total        Total paid
                                                             100% of
    Month          Hours         Fees        80% of Fees                    Amount
                                                             Expenses
                                                                           Requested

August 23,
2021 –                       $188,091.50
                   584.10                                                                $151,447.73
November 30,                 (discounted $150,473.20         $974.53      $151,447.73
                                                                                         12/21/2021
2021                         amount)

December 1,
2021 –                       $22,500.00
                    72.70                    $18,000.00      $ 23.25      $18,023.25      $18,023.25
December 31,                 (discounted
                                                                                          2/16/2022
2021                         amount)

January 1, 2022              $29,000.00
– January 31,      108.60                    $23,200.00      $ 0.00       $23,200.00     $23,200.00
                             (discounted
2022                                                                                     3/29/2022
                             amount)
February 1,
2022 –                       $23,000.00                                                  $18,751.00
February 28,       89.30     (discounted     $18,400.00      $351.00      $18,751.00     6/22/2022
2022                         amount)

March 1, 2022                                                                            $16,105.44
                             $19,800.00
– March 31,        66.50                     $15,840.00      $265.44      $16,105.44     6/22/2022
                             (discounted
2022                         amount)
April 1, 2022 –              $12,500.00                                                  $10,080.80
April 30, 2022     42.00     (discounted     $10,000.00      $80.80       $10,080.80     6/22/2022
                             amount)



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                                                                              Total          Total paid
                                                              100% of
    Month           Hours         Fees       80% of Fees                     Amount
                                                              Expenses
                                                                            Requested

May 1, 2022 –                 $13,500.00                                                    $10,861.40
May 31, 2022       46.60      (discounted    $10,800.00       $61.40       $10,861.40       8/16/2022
                              amount)
June 1, 2022-                 $18,000.00                                                    $14,507.70
June 30, 2022      63.10      (discounted    $14,400.00       $107.70      $14,507.70       8/16/2022
                              amount)
July 1, 2022 –                $10,000
July 31, 2022      38.50      (discounted    $8,000.00        $18.81       $8,018.81
                              amount)
August 1, 2022                $11,500.00
– August 31,       47.10      (discounted    $9,200.00        $5,744.60    $14,944.60
2022                          amount)
Sept. 1, 2022 –               $5,700.00
Sept. 30, 2022     23.00      (discounted    $4,560.00        $65.38       $4,625.38
                              amount)


       Pursuant to the Fee Order, any party wishing to object to this Request must file and serve

an objection to this Request within ten (10) calendar days from the date this Request is served on

the Notice Parties, as defined in Paragraph 2(d) of the Fee Order. If no objection to a Request is

timely filed and served within the Objection Period, the Trustee shall be authorized to make

payment as requested in this Request promptly upon the expiration of the Objection Period. Any

objection to this Request must have a description of the specific subject matter and services in

dispute and state the amount in dispute. It shall not be sufficient simply to object to all fees and

expenses.




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                 Accordingly, RQN respectfully submits this Request, and requests payment as set

forth herein.

          DATED this 26th day of October, 2022.

                                                      RAY QUINNEY & NEBEKER P.C.



                                                      /s/ Michael R. Johnson
                                                      Michael R. Johnson
                                                      David H. Leigh
                                                      Counsel for the Trustee




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 26th day of October, 2022, a true and correct copy of the
foregoing Eleventh Interim Monthly Fee Request Of Ray Quinney & Nebeker P.C., Counsel For
The Trustee (September 1, 2022 Through September 30, 2022) was electronically filed and
therefore served via ECF on the following:
       •   B. Scott Allen coley@mvmlegal.com
       •   Rod N. Andreason randreason@kmclaw.com, mkowalczyk@kmclaw.com
       •   Steven R. Bailey tr karen@baileylaw.org, UT06@ecfcbis.com
       •   Megan K Baker baker.megan@dorsey.com
       •   Matthew M. Boley mboley@ck.law, klopez@ck.law
       •   Daniel K. Brough dbrough@btjd.com, hollyv@btjd.com;docketing@btjd.com
       •   Ryan C. Cadwallader rcadwallader@kmclaw.com, twhite@kmclaw.com
       •   Deborah Rae Chandler dchandler@aklawfirm.com
       •   P. Matthew Cox mw@scmlaw.com, ec@scmlaw.com
       •   Douglas Farr dfarr@buchalter.com, docket@buchalter.com
       •   Bryan T. Glover bryan.glover@stoel.com, lisa.petras@stoel.com
       •   Michael F. Holbein mholbein@sgrlaw.com
       •   Armand J. Howell armand@hwmlawfirm.com,
               armand@ecf.courtdrive.com;meghan@ecf.courtdrive.com
       •   Chad Johnson chad@idahojobjustice.com,
               dunja@idahojobjustice.com;robyn@idahojobjustice.com;
               kati@utahjobjustice.com
       •   Michael R. Johnson mjohnson@rqn.com, docket@rqn.com;ASanchez@rqn.com
       •   David H. Leigh dleigh@rqn.com, ASanchez@rqn.com;docket@rqn.com
       •   Christopher J Martinez martinez.chris@dorsey.com
       •   Jason A. McNeill mcneill@mvmlegal.com, coley@mvmlegal.com
       •   Blake D. Miller bmiller@aklawfirm.com,
               millermobile@gmail.com;miller.blaked@gmail.com
       •   Stuart J. Miller sjm@lankmill.com
       •   Gregory S. Moesinger gmoesinger@kmclaw.com, tsanders@kmclaw.com
       •   Austin Nate anate@rqn.com, ajohnson@rqn.com
       •   Darren B. Neilson dneilson@parsonsbehle.com
       •   Mary E. Olsen molsen@thegardnerfirm.com
       •   Ellen E. Ostrow eostrow@foley.com,
               docketclerk@stoel.com;michelle.smock@stoel.com
       •   Mark C. Rose mrose@mbt-law.com, markcroselegal@gmail.com
       •   Brian M. Rothschild brothschild@parsonsbehle.com,
               ecf@parsonsbehle.com;docket@parsonsbehle.com
       •   Jeffrey Weston Shields jshields@rqn.com,
               5962725420@filings.docketbird.com;docket@rqn.com,tzimmerman@rqn.com
       •   Jeremy C. Sink jsink@kmclaw.com, mcarlson@kmclaw.com


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       •   Mark S. Swan mswan@strongandhanni.com, mark@swanlaw.net
       •   Richard C. Terry richard@tjblawyers.com, cbcecf@yahoo.com
       •   Jeffrey L. Trousdale jtrousdale@cohnekinghorn.com, mparks@ck.law
       •   United States Trustee USTPRegion19.SK.ECF@usdoj.gov
       •   Aaron M. Waite aaronmwaite@agutah.gov

       I further certify that on the 26th day of October, 2022, a true and correct copy of the
foregoing was served via email as follows:


       USTPRegion19.SK.ECF@usdoj.gov


                                                     /s/ Carrie Hurst




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                EXHIBIT A
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       Stephen R. Bailey, Trustee                                           October 25, 2022
       P.O. Box 1828                                                         Invoice: 719327
       Layton, UT 84041
__________________________________________________________________________________________



                                        INVOICE SUMMARY
For professional services rendered and costs advanced through September 30, 2022:

Client: 53228
Billing Attorney: M. R. Johnson

     Steve Bailey Trustee / Empire Solar

 Matter #   Description                                Legal Fees   Disbursements   Discount        Total
        1   Case Administration                          2,392.50             .00        .00     2,392.50
        5   Avoidance Action Analysis                    1,977.00             .00        .00     1,977.00
        7   Employment and Fee Applications              2,089.00             .00    -758.50     1,330.50
      11    Costs                                             .00           65.38        .00        65.38
   Total                                                 6,458.50           65.38    -758.50     5,765.38


                                    Less Discount                                                $ -758.50

                                    Net Professional Services                                   $ 5,700.00

                                    TOTAL THIS INVOICE                                          $ 5,765.38


                                    Previous Balance                                           $ 58,482.51

                                    TOTAL BALANCE DUE                                          $ 64,247.89
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Client-Matter: 53228 - 1

RE: Case Administration


PROFESSIONAL SERVICES RENDERED

  Date Atty        Description of Services Rendered                                    Hours Amount
9/01/22 DLEI   Receive and review email correspondence from T. Christensen.              .10     39.50
9/06/22 MJOH   Review subpoena; emails with Krannich and with Trustee regarding          .40    176.00
               same.
9/06/22   DLEI Receive and review email correspondence from M. Holbein regarding         .20     79.00
               Arbitration Summons; Analyze Summons.
9/07/22   DLEI Phone conference with prior Empire Solar customer with questions          .20     79.00
               regarding warranty work and status of bankruptcy.
9/07/22   DLEI Receive and review correspondence from W. McGee.                          .10     39.50
9/07/22   DLEI Receive and review email correspondence regarding review of               .10     39.50
               documents from Krannich relating to subpoena.
9/07/22   CHUR Review documents to identify any responsive documents to Summons          .40     76.00
               issued in the Krannich Solar arbitration case.
9/08/22   DLEI Phone conference with J. Nato regarding bankruptcy case and repair        .10     39.50
               issues.
9/08/22   DLEI Receive and review email correspondence regarding Klick Solar request     .10     39.50
               for confirmation that it can take over installation permit.
9/09/22   DLEI Receive and review email correspondence from D. Johnson with              .10     39.50
               information regarding documents search in response to subpoena.
9/13/22   DLEI Receive and review email from Trustee.                                    .10     39.50
9/13/22   DLEI Receive and review email correspondence from S. Jensen (counsel for       .10     39.50
               Generation Solar).
9/15/22   MJOH Telephone conference with M. Coffman (.2); telephone conference with      .40    176.00
               counsel for WARN Act plaintiffs (.2).
9/15/22   DLEI Phone conference with S. Nguyen regarding faulty solar system.            .30    118.50
9/20/22   DLEI Receive and review email correspondence from L. Gomez regarding           .10     39.50
               solar panel servicing issues; Respond to same.
9/20/22   CHUR Return calls to Empire Solar customers regarding issues with solar        .20     38.00
               panels
9/21/22   DLEI Receive and review email correspondence from T. Salazar (GoodLeap).       .10     39.50
9/21/22   AUNA Phone call with former Empire customer.                                   .10     23.00

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  Date Atty        Description of Services Rendered                                       Hours Amount
9/22/22 MJOH Telephone conference with Trustee regarding subpoena he received               .20       88.00
             regarding arbitration in New York.
9/22/22 AUNA Email M. Johnson and D. Leigh regarding deadline for dispositive               .10       23.00
             motions.
9/23/22 DLEI Receive and review email correspondence from J. McCarthy.                      .10       39.50
9/26/22 MJOH Telephone conference with Trustee regarding subpoena (.2); work on             .40      176.00
             objection (.2).
9/26/22 CHUR Return calls to customers.                                                     .10       19.00
9/27/22 DLEI Receive, review, and reply to T. Holmbeck regarding questions relating         .20       79.00
             to status of warranty purchased with solar panels and servicing needs.
9/27/22 CHUR Return calls to customers regarding failure of solar panels.                   .20       38.00
9/30/22 MJOH Review, edit and revise subpoena objection.                                    .30      132.00
9/30/22 DLEI Receive and review email correspondence from Trustee.                          .10       39.50
9/30/22 AUNA Draft objection to subpoena to trustee to appear at arbitration hearing in    2.60      598.00
             New York.

                                   TOTAL PROFESSIONAL SERVICES                                    $ 2,392.50

FEE SUMMARY BY ATTORNEY

Name                       ID           Staff Level                Hours         Rate                  Total
A. Nate                    AUNA         Associate                   2.80        230.00                644.00
M. R. Johnson              MJOH         Shareholder                 1.70        440.00                748.00
D. H. Leigh                DLEI         Shareholder                 2.10        395.00                829.50
C. Hurst                   CHUR         Paralegal                    .90        190.00                171.00
TOTALS                                                              7.50                          $ 2,392.50



                                   TOTAL THIS MATTER                                              $ 2,392.50




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Client-Matter: 53228 - 5

RE: Avoidance Action Analysis


PROFESSIONAL SERVICES RENDERED

  Date Atty       Description of Services Rendered                                     Hours Amount
9/01/22 MJOH Lengthy discussion with Goodleap in-house counsel regarding subpoena        .40    176.00
             and documents the Trustee is looking for.
9/13/22 MJOH Emails with counsel for Generation Solar regarding extension of time to     .20     88.00
             answer complaint.
9/19/22 MJOH Review and respond to questions from Goodleap regarding subpoena            .30    132.00
             questions.
9/20/22 DLEI Receive and review email correspondence from D. Dixon, Assistant            .10     39.50
             General Counsel for GoodLeap.
9/21/22 MJOH Emails with Goodleap.                                                       .30    132.00
9/21/22 DLEI Receive and review email correspondence from D. Dixon, General              .10     39.50
             Counsel for GoodLeap.
9/22/22 MJOH Video call with Goodleap to review spreadsheets and other information       .80    352.00
             regarding charge backs and related matters.
9/28/22 MJOH Review and respond to emails from counsel for High Speed and TVT            .30    132.00
             Funding.
9/28/22 CHUR Begin review of documents received from Silfab for payment                  .50     95.00
             forbearance and any payment plan.
9/29/22 MJOH Emails with Wisconsin AG regarding Electrious.                              .30    132.00
9/29/22 MJOH Edit and revise Notice of Hearing.                                          .20     88.00
9/29/22 DLEI Communicate with D. Dixon, Assistant General Counsel, regarding             .10     39.50
             GoodLeap produced documents in response to Subpoena.
9/29/22 DLEI Receive and begin review of documents from GoodLeap in response to          .30    118.50
             subpoena.
9/29/22 DLEI Further communication with D. Dixon regarding GoodLeap provided             .10     39.50
             documents in response to subpoena.
9/29/22 DLEI Receive and review detailed voice message from B. Dexter regarding          .20     79.00
             Gen Solar adversary proceeding (.1); Phone conference with B. Dexter
             (.1).
9/30/22 MJOH Review proposed scheduling order revisions and emails with Trustee          .40    176.00
             and R. Terry regarding same.


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  Date Atty       Description of Services Rendered                                        Hours Amount
9/30/22 DLEI      Receive and review email correspondence from R. Terry (counsel for        .30      118.50
                  TVT and High Speed Capital) (.1); Work on issues relating to request
                  for reopening of scheduling Order in TVT and High Speed Capital
                  adversary proceedings (.2).

                                   TOTAL PROFESSIONAL SERVICES                                    $ 1,977.00

FEE SUMMARY BY ATTORNEY

Name                       ID          Staff Level                 Hours          Rate                 Total
M. R. Johnson              MJOH        Shareholder                  3.20         440.00             1,408.00
D. H. Leigh                DLEI        Shareholder                  1.20         395.00               474.00
C. Hurst                   CHUR        Paralegal                     .50         190.00                95.00
TOTALS                                                              4.90                          $ 1,977.00



                                   TOTAL THIS MATTER                                              $ 1,977.00




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RE: Employment and Fee Applications


PROFESSIONAL SERVICES RENDERED

  Date Atty       Description of Services Rendered                                    Hours Amount
9/12/22 CHUR Review and edit of August time for 10th monthly fee request and for       1.70      323.00
             quarterly fee application for time period of May, 2022 through August,
             2022 and prepare initial draft of 10th Monthly Fee Request for RQN.
9/16/22 MJOH Work on August fee request.                                                .30      132.00
9/16/22 CHUR Work on drafts of 10th Monthly fee request and 3rd Application for         .70      133.00
             Compensation.
9/19/22 CHUR Revisions to 10th Monthly Fee request pursuant to M. Johnson and          1.20      228.00
             confirm calculations.
9/20/22 CHUR Prepare draft of RMA 10th Monthly Fee request and circulate for           1.50      285.00
             review; finalize RQN and RMAs 10th monthly fee requests (1.00),
             format for efiling and file (.50).
9/22/22 CHUR Work on RQN 3rd Application for Compensation for May 2022                 2.60      494.00
             August 2022
9/26/22 CHUR Edits to 3rd Application for Compensation of RQN.                          .50       95.00
9/27/22 CHUR Revise and finalize 3rd Application for Compensation of RQN.               .50       95.00
9/28/22 CHUR Format and efile RQN and RMA 3rd Applications for Compensation.            .50       95.00
9/29/22 CHUR Obtain hearing date on RQN and RMA fee applications and complete           .60      114.00
             draft of Notice.
9/30/22 CHUR Finalize and format Notice of filing and Notice of Hearing on RQN and      .50       95.00
             RMA 3rd Interim Applications for Compensation (.30); file and
             facilitate service on limited service list (.20)

                                  TOTAL PROFESSIONAL SERVICES                                 $ 2,089.00
                                  Less Discount                                                $ -758.50
                                  NET PROFESSIONAL SERVICES                                   $ 1,330.50


FEE SUMMARY BY ATTORNEY

Name                       ID         Staff Level               Hours         Rate                Total
M. R. Johnson              MJOH       Shareholder                 .30        440.00              132.00


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Name                       ID        Staff Level         Hours      Rate              Total
C. Hurst                   CHUR      Paralegal            10.30    190.00          1,957.00
TOTALS                                                    10.60                  $ 2,089.00



                                  TOTAL THIS MATTER                              $ 1,330.50




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RE: Costs


COSTS ADVANCED

    Date Description                                                                          Amount
 8/18/22 Constable Reitz, Service of Subpoena, 8/18/2022, 790260, Service Of Subpoena           46.00
         Postage                                                                                19.38

                                  TOTAL COSTS ADVANCED                                          $ 65.38

                                  TOTAL THIS MATTER                                             $ 65.38
                                  TOTAL THIS INVOICE                                         $ 5,765.38




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OUTSTANDING INVOICES

          INVOICE             DATE            INVOICE         PAYMENTS            ENDING
          NUMBER                                TOTAL          RECEIVED          BALANCE
            715375           10/07/22          58,482.51             .00          58,482.51


                                   Outstanding Balance                            $ 58,482.51

                                   Total This Invoice                              $ 5,765.38

                                   TOTAL BALANCE DUE                              $ 64,247.89




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